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MARIA RENDON VALE § IN THE IJISTRICT COURT OF
§
Plaintif'f, §
§
vs. § JUDICIAL DISTRICT
§
CONlPANION PROPERTY AND §
CASUAL'I`Y INSURANCE COMPANY §
Defendaut § HIDALGO COUNTY, 'I`EXAS

 

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

 

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES, MARIA RENDON VALE (hereinafter referred to as (“PLAII\[TIFF"),
and files her first Original Petition against DEI-`ENDANT, COMPANION PROPERTY AND
CASUALTY INSURANCE COMPANY for cause of action would respectfully show the Court
the f`ollowing:

l. Discovery

Pursuarlt to rule 190 of the Texas Rules of Civil Procedure, PLAINTIFF intends to
conduct discovery under Level 3.

II. Service of Process

Defendant, COMPANION PROPERTY AND CASUALTY lNSURANCE
COMPANY, may be served with process by serving citation and a copy of this Original Petition
by Certii`led Mail Returri Receipt Requested on its agent for service: C T CORPORATION
SYSTEM 1999 BRYAN ST. STE 900 DALLAS, TEXAS 75201 - 3136.

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COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY is in the
business of insurance in the State of Texas. The insurance business done by COMPANION
PROPER'I`Y AND CASUALTY INSURANCE COMPANY in Texas includes, but is not
limited to the 1l`ollovving:

i. The making and issuing of contracts of insurance with the PLAINTIFF;

2. The taking or receiving of application for insurance, including the PLAINTIFF’S
application f"or insurance;

3. Thc receiving or collection of premiums, commissions, membership fees,
assessments, dues or other consideration for any insurance or any part thereof,
including any such consideration or payments from the PLAINTIFF;

4. 'I`he issuance or delivery of contracts of insurance to residents of this state or a
person authorized to do business in this state, including the PLAINTIFF;

5. The adjusting and inspection of PI.,AI'NTFF’S insurance claims;

6. Malcing insurance coverage decisions;
7. Taking part in making insurance coverage decisions; and
8. Making representations to PLAINTLFF as being an agent for an insurance company

with authority to make coverage decisions;
IIl. Jurisdiction and Venue
Venue of this action is proper in HIDALGO County, Texas becausc: the policy at issue
was issued and delivered in HIDALGO County, Texas; the property insured is situated in
HIDALGO County, Texas; PLAINTIFF’S losses occurred in HIDALGO County, Texas, and all
or part of the events made the basis of this lawsuit and giving rise to PLAINTIFF’S claims and

causes of action occurred in HIDALGO County, Texas.

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lV. Facts

COMPANION PROPERT¥ AND CASUALTY INSURANCE COMPANY andi'or its
agents committed the actions alleged against PLA[NTIFF in this complaintl PLAINTIFF owns
the property located at: 1222 W. SPRAGUE ST. EDTNBURG, TEXAS 78539. POLICY NO.
CDA 00000?267-2, CLAIM NO. COC62722 COMPANION PROPERTY AND CASUALTY
INSURANCE COMPANY provided coverage to the PLAINTIFF for such building, personal
property, and other matters under COMPANION PROPERTY AND CASUALTY
INSURANCE COMPANY insurance POLICY NO. CDA{)UOUOTZ|S'i'-Z. During the term of
said policy, PLAINTIFF sustained covered losses in the form of a rainr'windstonn occurring on
or about MAY 28, 2014 in HIDALGO County, and water damages resulting there from,
including damage to the architectural finishes of the property. PLATNTIFF promptly reported
losses to COMPANION PROPERTY AND CASUALTY lNSURANCE COMPANY
pursuant to the terms of the insurance policy. As a result, PLAINTIFF property sustained
damage, including the cost of destruction and restoration of the property necessary to access and
fix the damaged arcas. These are covered damages under PLAINTIFF’S insurance policy with
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY. PLAINTIFF’S
has been damaged in an amount in excess of the minimum jurisdictional limits of this Court,
including injuries sustained as a result of having conduct business during the pendency of
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY conduct.

V. Conditions Precedent

All notices and proofs ot` loss were timely and properly given to COMPANION

PROPERTY AND CASUALTY INSURANCE COMPANY in such manner as to fully

comply with the terms and conditions of the relevant insurance policies or other contracts and

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applicable law. More than sixty days prior to the filing of this suit, written demand for payment
and notice of complaint pursuant to Texas lnsurance Code, section 541 and Business and
Cornmerce Code section l7.505(a), was sent to COMPANION PROPERTY AND
CASUALTY INSURANCE COMPANY. All of the conditions precedent to bring about this
suit under the insurance policy have occurred. Despite the fact that all conditions precedent to
PI_.AINTIFF’S recovery has occurred andf or has been performed, COMI’ANION PROPERTY
AND CASUALTY INSURANCE COMPANY has failed and refused to pay PLAI'NTIFF ajust
amount in accordance with their contractual obligations, agreements, and representations

Vl. Breach of Contract

PLAINTIFF purchased an insurance policy with CDMPANION PROPERTY
AND CASUALTY INSURANCE COMPANY. PLAINTH~`F’S property was damaged by
windstorm and water damage, of which are covered under the insurance policy. COMPANION
PROPERTY AND CASUALTY INSURANCE COMPANY has denied and)‘or delayed
payment of PLAINTIFF‘S covered claims. COMPANlON PROPERTY AND CASUALTY
INSURANCE COMPANY has no reasonable basis for denying, delaying, or failing to pay
PLA[NTIPF’S claims for damages COMPANION PROPERTY AND CASUALTY
INSURANCE COMPANY knew or should have known that there was no such reasonable basis
to deny, delay, and failure to pay such claims. The conduct of COMPANION PROPERTY
AND CASUALTY INSURANCE COMPANY was irresponsible, and unconscionable
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY took advantage
of the PLATNTIFF’S lack of sophistication in insurance and construction matters to a grossly
unfair degree. COMI’ANION PROPERTY ANI) CASUALTY lNSURANCE COMPANY

has, by its conduct, breached its contract with the PLAINTIFF. The conduct of COMPAMON

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PROPERTY AND CASUALTY INSURANCE COMPANY has proximately caused the

injuries and damages to the PLAINTIFF.

Vll. Second Cause of Action: DTPA Violations
PLA INTIFF is a consumer entitled to relief under the Texas Deceptive Trade Practices_

Consumer Protection Act (“DTPA”). By its conduct outlined above, COMPAN'[ON

PROPERTY AND CASUALTY INSURANCE COMPANY has engaged in the following

violations of the DTPA which, together and separately, has been a producing cause of

PLAINTIFF’S damages:

(a) C()M'PANION PROPERTY AND CASUALTY INSURANCE CON.[PANY made
false representations about PLAINTIFF’S rights,l remedies and obligations under the
policies at issue. These statements were 'a misrepresentation of the insurance policies and
their benefits in violation of §§17,46(b)(5), (7), (12) and (14), Texas Business &
Commerce Code;

(b) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY actions
constitute an unconscionable course of conduct entitling PLAINTIFF to relief under
§l'?.$O(a)(l), (2), (3), and (4) of the Texas Business & Cotnmerce Code;

(c) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY failed to
disclose information to PLAINTIFF concerning the nature and extent of their insurance
policy which was known by COMPANION PROPER'[`Y AND CASUALTY
INSURANCE C(}MPANY at the time for the purpose of inducing PLAINTIFF into
transactions which they would not have otherwise entered in violation of section

l’}’.46(b)(9) and (23), Texas Business and Commerce Code;

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(d) As described above, COMPANION PROPERTY AND CASUALTY INSURANCE
COMPANY violated Chapter 541, Texas Insurance Code, entitling PLAINTIFF to relief
under section l'?.SO(a)(4), Texas Business and Commerce Code.

COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY took
advantage of PLAlNTIFF’s lack of knowledge in construction and insurance claims processes,
misrepresented losses covered under the insurance policy, and failed to disclose pertinent
information regarding damages to the PI_.AINTIFF property. COMPANION PROPERTY AND
CASUALTY INSURANCE COMPANY conduct as described herein was a producing cause of
damages to PLAINTIFF for which PLAINTIFF sues. The conduct of the COMPANION
PROPERTY AND CASUALTY INSURANCE COMPANY was more than just a mistake and
was done “knowingly" and!or “intentionally” as that term is derived by statue. Because of that,
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY may be subject
to liability for additional damages under the Texas Deceptive Trade Practices Act. PLAlNTIFF
seeks an award of additional damages under the DTPA in an amount not to exceed three times
the amount of economic damages

VIII. Unfair Insurance Practices

COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY failed to
inform PLAINTIFF of material facts such as the true scope of damage and cost to repair.
COMPANION PROPERTY AND CASUALTY lNSURANCE COMPANY failed to
properly process claims and have misrepresented material facts to the PLAINTIFF.
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY have failed to
address all damage to the property and its contents causing further damage to the PLAINTIFF.

Further, COMPANION PROPERTY AND CASUALTY INSURANCE CON[PANY has

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intentionally failed to fully investigate the loss; failed to properly convey all information to
PLA[NTIFF; and have intentionally ignored damages to the dwelling PLAINTIFF’ property
suffered from covered losses and damages of which COMPANION PROPERTY AND
CASUALTY INSURANCE COMPANY is fully aware. COMPANION PROPERTY AND
CASUALTY INSURANCE COMPANY has concealed damage known by them to exist
COMPANION PROPERTY AND CASUALTY INSURANCE COMPAi\lY has known about
covered windstorm and water damages but has failed to perform proper testing and concealed
facts from PLA]NTIFF about the damages, ignoring PI_.AI`NTIFF's pleas for help.
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY has failed to
warn PLAINTIFF of consequential damage to her property.

By its conduct outlined above, COMPANION PROPERTY AND CASUALTY
INSURANCE COMPANY committed unfair practices in the business of insurance prohibited
by Chapter 541, Texas Insurance Code, and the statutes, rules and regulations incorporated
therein. COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY
committed the following acts in violation of Texas Insurance Code and Texas Administrative
Code:

(l) COM.PANION PROPERTY AND CASUALTY INSURANCE COMPANY failed to,
with good faith, effectuate a prompt, fair, and equitable settlement of the PLAINTIFF’S
claims once liability became reasonable clear (Tex. Ins. Code Ann. 541.060(a)(2)(A);
Tex. lns. Code Ann. 542.003(b)(4); 28 TAC section 21.203(4));

(2) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY failed to
provide promptly to PLAINTIFF a reasonable explanation of the basis in the policy, in

relation to the facts or applicable law, for denial of the claim or for the offer of a

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compromise settlement of the claim (Tex. Ins. Code Ann. 541.060(a)(3); 28 TAC section
21.203(9));

(3) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY refused
to pay a claim without conducting a reasonable investigation with respect to that claim
(Tex. Ins. Code Ann. 541 .060(a)(7); TAC section 21.203(15));

(4) COMPANION PROPERTY AND CASUALTY INSURANCE CON[PANY breached
its duty of good faith and fair dealing at common law;

(5) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY failed
Within a reasonable time to affirm or deny coverage of a claim to a policyholder (Tex.
Ins. Code Ann. 541.060(a)(4)(A); 28 TAC section 21 .203(10));

(6) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY failed to
adopt and implement reasonable standards for the prompt investigation of claims arising
under the insurer’s policies (Tex. Ins. Code Ann. 542. 003(b)(3); 28 TAC section
21 .203(3));

('i') COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY
compelled PLAINTIFF to institute a suit to recover an amount due under a policy by
offering substantially less than the amount ultimately recovered in a suit brought by the
policyholder (Tex. lns. Code Ann. 542.003(b)(5); 28 TAC section 21 .203(6);

(8) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY violated
the Prompt Payment of Claims Statute (28 TAC section 21 .203(1 8));

(9) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY
undertook to enforce a full and final release of a claim from a policyholder when only a

partial payment has been made, unless the payment is a compromise settlement of a

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doubtful or disputed claim (Tex. lns. Code Ann. 541.060(a)(6); 28 TAC section
21.203(13));

(10) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY
committed the following unfair methods of competition or deceptive acts or practices in
the business of insurance in violation of Texas Insurance Code and the Texas
Administrative Code by:

(a) C()MPANION PROPERTY AND CASUALTY INSURANCE COMPANY
made, issued or circulated or caused to be made, issued or circulated an cstirnate,
illustration, circular or statement misrepresenting with respect to the policy issued
or to be issued:

(i) the terms of the policy; and/or
(ii) the benefits or advantages promised by the policy.

(b) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY
made an untrue statement of material fact (Tex. Ins. Code Ann. 541.060(a)(l); 28
TAC section 21.203(1));

(c) COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY
failed to state a material fact necessary to make other statements made not
misleading considering the circumstances under which statements were made; and

(d) COMPANION PROPERTY AND CASUAL'I`Y INSURANCE COMPANY
made statements in a manner that would mislead a reasonably prudent person to a
false conclusion of material fact.

(c) Refusing, failing, or unreasonably delaying a settlement offer under applicable

first-party coverage on the basis that other coverage may be available or that third

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parties are responsible for the damages suffered, except as may be specifically

provided in the policy (Tex. Ins. Code Ann 541.060(a)(5); 28 TAC section

21 .203(1 1); and

(l’) Failing to respond promptly to a request by a claimant for personal contact about

or review of the claim (28 TAC section 21 .203(16)).
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY conduct as
described herein was a producing cause of damages to PLAINTIFF for which it sues.

IX. Breach of the Duty of Good Faith and Fair Dealing
From and after the time the PLAINTIFF’ claims were presented to COMPANION

PROPERTY AND CASUALTIY INSURANCE COMPANY liability to pay the claims in
accordance with the terms of insurance policies referenced above has been reasonably clear.
Despite there being no basis whatsoever on which a reasonable insurance company would have
relied to deny andlor delay payment for PLAINTIFF‘S claims, COMPANION PROPERTY
AND CASUALTY INSURANCE COMPANY refused to accept the claims in totality and pay
the PL,AINTIFF as the policy required At that time, COMPANION PROPERTY AND
CASUALTY INSURANCE COMPANY knew or should have known by the exercise of
reasonable diligence that their liability was reasonably clear. COMPANION PROPERTY
AND CASUALTY INSURANCE COMPANY failed to conduct a reasonable and proper
inspection of the claims and refused to rely on the true facts, resorting instead to producing
faulty, incomplete and biased reasons to avoid paying a valid claim. This constitutes failing to
handle or process the PLAINTFF’S claims in good faith, an affirmative duty placed on the
Defendant, as expressly stated by the Texas Supreme Court in Vaii v. Texas Fnrm Burenu, 254

S.W.Zd 129 at 135 (Tex. 1988). Through the actions described above, COMPANION

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PROPER'I'Y AND CASUALTY TNSURANCE COMPANY’S breached its duty to deal fairly
and in good faith with the PLAINTIFF. COMPANION PROPERTY AND CASUALTY
INSURANCE COMPANY breach was a proximate cause of the losses, expenses and damages
suffered by the PLAINTIFF for which they sue.
X. Texas Insurance Code 542, Subchapter B Delay in Payment
PLAINTIFF gave prompt notice of their claims to COMPANION PROPERTY AND
CASUALTY INSURANCE COMPANY. COMPANION PR()PER'I`Y AND CASUALTY
INSURANCE COMPANY has engaged in unfair settlement claims practices as discussed
above and denied andl'or has delayed payment on PLAINTIFF’S claims, COMPANION
PROPERTY AND CASUALTY INSURANCE COMPANY’S reliance on reports and
estimates from its adjusters and investigating adjusters has been “merely pretextual" and
unreasonable COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY’S
investigation and use of adjusters’ reports was an “outcome oriented investigation."
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY failed to comply
with one or more of the requirements of Chapter 542 listed herein:

(a) Failing to notify PLAINTIFF in writing, within 15 business days after receiving
all of the items, statements, and forms required by the insurer to secure final proof
of loss, of the acceptance or rejection of a claim; and!'or

(b) Failing to pay PLAINTIFF claim within 60 days of receiving all of the items,
statements, and forms required by the insurer to secure final proof of |oss, of the

acceptance or rejection of a claim; and

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(e) F ailing to request all of the items, statements and forms the Defendant reasonably
believed at the time would be required from PLAINT[FF to pay the claim within

l$ days after receiving notice of the claim.
Pursuant to Texas Insurance Code Chapter 542, Subchapter B, PLAINTIFF is entitled to
recover from COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY the
statutory penalty of 18% per annum on all amounts due on PLAINT[FF claims, together with

attorney’s fees, for which she sues.

XI.

PLAINTIFF alleges that as to any terms, eonditions, notices, or requests under the
insurance contract, PLAINTIFF has substantially complied and;*or is excused. In the alternative,
PLAI`NTIFF makes the allegation of waiver andfor estoppel as to every defense or exclusion
plead by COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY as to
any exclusion, condition, or defense pled by COMPANION PROPERTY AND CASUALTY
INSURANCE COMPANY, PLAINTIFF would show that:

l. The clear and unambiguous language of the policy provides coverage for dwelling
damage caused by windstorm and water damage, including the cost of access to
fix the damaged areas. Any other construction of the language of the policy is
void as against public policy;

2. Any other construction and its use by COMPANION PROPERTY AND
CASUALTY lNSURANCE COMPANY violates section 541 and 542 of the

Texas Insurance Code and are void as against public policy;

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3. Any other construction violates Art. 1150 of the Texas Business and Commerce
Code, is unconscionable, was procured by fraudulent inducement, and is void as
against public policy;

4. Any other construction is otherwise void as against public policy, illegal, and
volatiles state law and administrative rule and regulation;

5. The adoption of any other construction constitutes wrongful or bad faith
cancellation auditor refusal to renew a portion of PLAINTIFF’S predecessor
policy with COMPANIUN PROPERTY AND CASUALTY INSURANCE
COMPANY. In this regard, PLAINTIFF would show that their insurance policy
was renewed uninterrupted for many years; and

6. The adoption of any other construction constitutes conduct in violation of the laws
of this state, including section 541 and 542 of Texas Insurance Code is void as

against public policy.

lf this Court finds any ambiguity in the policy, the rules of construction of such policies
mandate the construction and interpretation urged by PLAINTIFF. ln the alternative,
COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY is judicially,
administratively, or equitably estopped from denying PLAIN'I`IFF’s construction of the policy
coverage at issue. To the extent that the wording of such policy does not reflect the true intent of

all parties thereto, PLAINTIFF pleads the doctrine of mutual mistake requiring reformation

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Xll.

Wl-IEREFORE, PREM[SES CONSIDERED, PLAINTIFF respectfully requests
this l-lonorable Court for the following relief: That upon final hearing and trial hereof, this
Honorable Court grant to the Pl_,AlNTlFF such relief as to which she may show herself justly
entitled, either at law or in equity; either general or speciai, including declaratory judgment,
judgment against the defendant for actual attorney’s fees, cost of suit, mental anguish, DTPA
violations, Texas insurance code violations, statutory penalties, and prejudgment and post
judgment interest, including judgment for additional damages and punitive damage under the
facts set forth in this or any amended pleading in exceeding the minimal jurisdicted limits of the

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Xlll. JURY DEMAND
PLAFNTIFF requests this Court empanel ajury to sit in the trial of this matter. The requisite jury

fee will be paid as required by law.

XIV. REQUEST FOR DISCLOSURE

Under Texas Rule of Civil Procedure 194, PLAINTIFF requests that COMPANION
PROPERTY AND CASUALTY INSURANCE COMPANY diselose, within 50 days of the
service of this request, the information or material described in Texas Rule of Civil Procedure

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Respectfully submitted,

V. GONZALEZ & ASSOCIATES, P.C.
121 N. 10‘h st

McAlIen, Texas 78501

Telephone: (956) 630-3266

Facsimile: (956) 630-0333

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State Bar No. 24037430

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VICENTE GONZALEZ
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ATTORNEYS FOR MRM RENDON VALE

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

 

McALLEN DIVISION
MARIA RENDON VALE §
Plaintiff, §
§
v. § CIVIL AC'I`ION NO._
§ .]URY DEMANDED
§
COMPANION PROPERTY AND §
CASUALTY INSURANCE COMPANY §
Defendant §
VERIFICA'I'ION
THE STATE
OF TEXAS

BEFORE ME, the undersigned Notary Public in and for the State of Texas, on this
day personally appeared Thornas F. Nye, known to me to be the person whose name is
subscribed hereto, who being first duly sworn in the manner provided by lavv, on oath stated
as follows:

“My name is Thornas F. Nye. I am one of the Attomeys of` Record for Defendant
Companion Property and Casualty Insurance Company in the above-referenced lawsuit,
am over the age of 18 years, am competent and authorized to testify herein and have
personal knowledge of the facts herein. Attached hereto as ‘Exhibit l’ is atrue and correct
copy of Defendant Companion Property and Casualty Insurance Company’s Original
Answer filed with the Hidalgo County District Clerk in Cause No. C-8909-l4-B on
February 16, 2015. These factual statements are Within my personal knowledge, and are

true and correct.”

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Further affiant sayeth not.

__l_t"‘~»-`i.ll\,{L.,---

Thornas F. Nye

SUBSCRIBED AND SWORN TO BEFOR.E ME by Thomas F. Nye on this the

(Ll’kofFebruary, 2015 to certify which witness my hand and official seal.

“lLUta @- lhng tag
L_ ..... , Notary Public, in and for the ll 13
§‘ \a mo__nootueuiz : State of Texas

    
 
  

 

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CAUSE NO. C-8909-14-B

MARIA RENDON vALE § IN THE DISTRICT COURT
§

vs. § 93RD JUDICIAL DISTRICT
§

coMPANION PROPERTY AND §

CASUALTY INSURANCE CoMPANY § HIDALGO CoUNTY, TEXAS

DEFENDANT COMPANION PROPERTY AND CASUALTY INSURANCE
COl\’fPANY’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, COMPANION PROPERTY AND CASUALTY INSURANCE
COMPANY, Defendant in the above-styled and numbered cause, and make and file this, its
Original Answer in reply to Plaintiff’s Petition, and for such answer and would respectii.\lly show
unto the Court the following:

1.

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies the

allegations contained within Plaintiff’ s Original Petition and demands strict proof thereon by a

preponderance of the credible evidence in accordance with the laws of the State of Texas.

2.

Pleading further and without waiver of the above, Defendant denies the occurrence of all
conditions precedent to Plaintist claim. Without limiting the foregoing, Defcndant denies that
the following has occurred:

a. that there has been full compliance with all terms and conditions of the
insurance policy at issue as required prior to Plaintiff bringing suit,
including, but not limited to, the requirement that payment is only due after

agreement is reached on the amount of loss or an appraisal award has been
made; and

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b. that Plaintifl` has provided the required written notice under Section 541 . 154
of the Texas Insurance Code at least 60 days prior to filing suit.

3.

Additionally, the insurance policy pertaining to the claims asserted by the Plaintiff includes
a specific “Appraisal” clause which sets forth the procedure in the event of a disagreement of the
amount of the loss. Specifically, the policy requires that, upon written request, the property must
be appraised by each party’s own disinterested appraiser. In the event of a disagreement in the
appraisal, the differences are submitted to an umpire for determination Compliance With the
appraisal process is a condition precedent to any suit against Defendant insurance company.
Defendant insurance company was deprived of the opportunity to invoke the appraisal clause prior
to suit, Further, the lawsuit prevented Defendant insurance company from attempting to resolve
the alleged problems, reaching an impasse or invoking the appraisal clause, if necessary.
Defendant insurance company reserves the contractual right to invoke this clause and that the
property be appraised according to the terms of the applicable insurance policy if the parties reach
an impasse. Defendant insurance company has not waived and is not waiving this provision and
may assert it in the future.

4.

Pursuant to Rule 193.'? of the Texas Rules of Civil Procedure, Defendant hereby gives
actual notice to Plaintiff that any and all documents and materials produced in response to written
discovery may be used as evidence in this case; and, that any such materials may be used as
evidence against the party producing the document at any pretrial proceeding auditor at the trial of
this matter without the necessity of authenticating the document and/or materials produced in

discovery.

VALE, MAR[A R.lCPClC - D OA - CPCIC - PAGEZ OF 4

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WHEREFOR_E, PREMISES CONSIDERED, Defendant prays that upon final hearing

hereof, that Plaintiff not recover against Defendant and that Defendant go hence with its costs

without day and for such other and further relief, at law or in equity, to which Defendant may

justly show itself entitled to receive.

VALE, MARIA R,J'CPCIC - D OA - CPCIC - PAGEJ OF 4

Respectfully submitted,

Gault, Nye & Quintana, L.L.P.
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(361) 654-?008

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tnye@gnglawers.com

By: minn .,,¢\-_---r

Thomas F. Nye' vi
State Bar No. 15154025

 

William Gault

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ATToRNaYs Foa DEFENDANT CoMPANIoN
PROPERTY AND CAsuALTY INsuRANCE
CoMPANY

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CERTIFICATE OF SERVICE

l, 'l`homas F. Nye, hereby certify that on the /6 'Fday of February, 2015, a true and
correct copy of the above and foregoing document was served upon the following counsel as
indicated:

Arromeys for Plainri{f
Aloysius Peter Thaddeus, Jr.

Pape Malick Dj iba

Vioente Gonzalez

V. Gonzalez & Associates, P.C.

Email: peter@vgonzalezlaw.com
mdiiba@vgonzalezlaw.com

vgusalaw@yahoo.com

VIA E~FILING

T¢=»-+. ;\.,\__

Thomas F. Nyel

 

VALE, MAR[A R.;‘CPCIC - D OA - CPCIC - PAGE 4 OF 4

